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        ORDERED in the Southern District of Florida on May 3, 2017.




                                                             Raymond B. Ray, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

        In re:                                                 Case No. 17-11380-RBR

        STEMTECH INTERNATIONAL, INC.,                          Chapter 11

                 Debtor.                                 /

                  ORDER GRANTING IN PART MOTION (I) FOR RELIEF FROM THE
             AUTOMATIC STAY TO OFFSET PREPETITION SECURITY DEPOSIT; AND
           (II) TO COMPEL TIMELY PERFORMANCE UNDER THE LEASE, INCLUDING
           (A) RESTORATION OF THE DEFICIENCY IN THE SECURITY DEPOSIT, AND
                 (B) PAYMENT OF RENT OBLIGATIONS ACCRUING POSTPETITION

                 THIS MATTER came before the Court for hearing on March 9, 2017 at 10:00 a.m. (the

        “Hearing”) upon the Motion (I) For Relief From the Automatic Stay to Offset Prepetition

        Security Deposit; And (II) to Compel Timely Performance Under the Lease, Including (A)

        Restoration of the Deficiency in the Security Deposit, and (B) Payment of Rent Obligations
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Accruing Postpetition [ECF# 18] (the “Motion”),1 filed by Chelsea Investments 350, LLC

(“Landlord”), as creditor of Stemtech International, Inc. (the “Debtor”). The Court, having

reviewed the Motion and heard the arguments of counsel at the Hearing, ORDERS as follows:

        1.       The Motion is GRANTED to the extent set forth in this Order.

        2.       The Landlord is authorized to apply the Security Deposit to unpaid prepetition

obligations due under the Lease, including monthly rent obligations, common area maintenance,

and applicable utilities in an amount either agreed to in advance in writing by the Debtor and

Landlord or as determined by separate order of the Court.

        3.       The Landlord’s request to require the Debtor to replenish the Security Deposit is

DENIED.

        4.       The Debtor is directed to immediately pay to Landlord all postpetition obligations

under the Lease accruing on and after the Petition, including rent, common area maintenance, the

Debtor’s share of electricity, and other applicable utilities; provided, however, the pro rata

amount due for February 2, 2017 through and including February 28, 2017 (the “Stub Period”),

as either agreed to in advance in writing by the Debtor and the Landlord or as determined by

separate order of the Court, shall be paid no later than April 21, 2017.

        5.       Except as otherwise provided herein, in accordance with 11 U.S.C. § 365(d)(3),

the Debtor is directed to timely pay to Landlord all postpetition obligations under the Lease,

including rent, common area maintenance, the Debtor’s share of electricity, and other applicable

utilities, for each month after the Petition Date until the Lease is assumed or rejected.




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        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.



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        6.      The Debtor and the Landlord shall confer in good faith in an effort to liquidate the

amounts to be paid in accordance with paragraph 2 of this Order and on account of the Stub Rent

in accordance with paragraph 4 of this Order.

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Respectfully submitted by:
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Copy to: Attorney Charbonneau, who is directed to serve a conforming copy upon all interested parties.




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